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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


COMMODITY FUTURES TRADING
COMMISSION,

                       Plaintiff,
                                                      CIVIL ACTION NO: 1:23-cv-01887
       v.
                                                      Hon. Manish S. Shah
CHANGPENG ZHAO, BINANCE HOLDINGS
LIMITED, BINANCE HOLDINGS (IE)
LIMITED, BINANCE (SERVICES) HOLDING
LIMITED and SAMUEL LIM,

                       Defendants.



     AMENDED CONSENT ORDER FOR PERMANENT INJUNCTION, CIVIL
         MONETARY PENALTY, AND OTHER EQUITABLE RELIEF
  AGAINST DEFENDANTS CHANGPENG ZHAO, BINANCE HOLDINGS LIMITED,
   BINANCE HOLDINGS (IE) LIMITED, AND BINANCE (SERVICES) HOLDING
                              LIMITED

                                     I.    INTRODUCTION

       On March 27, 2023, Plaintiff Commodity Futures Trading Commission (“Commission”

or “CFTC”) filed a Complaint against Defendants Changpeng Zhao (“Zhao”); Binance Holdings

Limited (“Binance Holdings”), Binance Holdings (IE) Limited (“Binance IE”), and Binance

(Services) Holdings Limited (“Binance Services”) (collectively “Binance Entity Defendants” or

“Binance”); and Samuel Lim (“Lim”) (collectively “Defendants”) seeking injunctive and other

equitable relief, as well as the imposition of civil penalties, for violations of the Commodity

Exchange Act (“Act”), 7 U.S.C. §§ 1–26, and the Commission’s Regulations (“Regulations”)

promulgated thereunder, 17 C.F.R. pts. 1–190 (2022).
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                           II.     CONSENTS AND AGREEMENTS

       To effect settlement of all charges alleged in the Complaint against Defendants Zhao and

the Binance Entity Defendants without a trial on the merits or any further judicial proceedings,

Zhao and the Binance Entity Defendants:

       1.      Consent to the entry of this Consent Order for Permanent Injunction, Civil

Monetary Penalty, and Other Equitable Relief Against Defendants Changpeng Zhao, Binance

Holdings Limited, Binance (IE) Limited, and Binance (Services) Holdings Limited (“Consent

Order”);

       2.      Affirm that they have read and agreed to this Consent Order voluntarily, and that

no promise, other than as specifically contained herein, or threat, has been made by the

Commission or any member, officer, agent, or representative thereof, or by any other person, to

induce consent to this Consent Order;

       3.      Acknowledge service of the summons and Complaint;

       4.      Admit the jurisdiction of this Court over them for purposes of this settlement and

the subject matter of this action pursuant to Section 6c of the Act, 7 U.S.C. § 13a-1;

       5.      Admit the jurisdiction of the Commission over the conduct and transactions at

issue in this action pursuant to the Act;

       6.      Admit that venue properly lies with this Court pursuant to 7 U.S.C. § 13a-1(e);

       7.      Waive:

               (a) Any and all claims that they may possess under the Equal Access to Justice
                   Act, 5 U.S.C. § 504 and 28 U.S.C. § 2412, and/or the rules promulgated by
                   the Commission in conformity therewith, Part 148 of the Regulations,
                   17 C.F.R. pt. 148 (2022), relating to, or arising from, this action;

               (b) Any and all claims that they may possess under the Small Business
                   Regulatory Enforcement Fairness Act of 1996, Pub. L. No. 104-121, tit. II,
                   §§ 201–253, 110 Stat. 847, 857–74 (codified as amended at 28 U.S.C. § 2412


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                   and in scattered sections of 5 U.S.C. and 15 U.S.C.), relating to, or arising
                   from, this action;

               (c) Any claim of Double Jeopardy based upon the institution of this action or the
                   entry in this action of any order imposing a civil monetary penalty or any
                   other relief, including this Consent Order; and

               (d) Any and all rights of appeal from this action;

       8.      Acknowledge that the Commission is the prevailing party in this action for

purposes of the waiver of any and all rights under the Equal Access to Justice Act and the Small

Business Regulatory Enforcement Fairness Act of 1996 specified in subparts (a) and (b) of

paragraph 7 above;

       9.      Consent to the continued jurisdiction of this Court over them for the purpose of

implementing and enforcing the terms and conditions of this Consent Order and for any other

purpose relevant to this action, even if Defendant Zhao and/or the Binance Entity Defendants

now or in the future reside outside the jurisdiction of this Court;

       10.     Agree they will not oppose enforcement of this Consent Order on the grounds, if

any exist, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure and

hereby waive any objection based thereon;

       11.     Agree that neither they nor any of their agents or employees under their authority

or control shall take any action or make any public statement, including any statement on social

media: (i) denying, directly or indirectly, any allegations in the Complaint and/or the Findings of

Fact or Conclusions of Law in this Consent Order, or (ii) creating or tending to create the

impression that the Complaint and/or this Consent Order is without a factual basis; provided,

however, that nothing in this provision shall affect Zhao’s, the Binance Entity Defendants’

and/or their successors’, assigns’, agents’ and/or employees’: (a) testimonial obligations, or

(b) right to take positions in other proceedings to which the Commission is not a party;


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Defendant Zhao and the Binance Entity Defendants shall comply with this agreement and shall

undertake all steps necessary to ensure that all of their successors, assigns, agents and/or

employees under their authority or control understand and comply with this agreement;

       12.     Admit: (i) as to the Binance Entity Defendants, all facts admitted in the Plea

Agreement of Binance Holdings Limited with the United States Department of Justice (“DOJ”)

and in the related action by the Financial Crimes Enforcement Network (“FinCEN”); (ii) as to

Defendant Zhao, all facts admitted in his Plea Agreement with the DOJ; and (iii) the allegations

in paragraphs 11 and 12 of the Complaint as they relate to jurisdiction and venue as stated in

paragraphs 4-6 above;

       13.     Consent to the entry of this Consent Order without otherwise admitting or

denying the allegations of the Complaint or any findings of fact or conclusions of law in this

Consent Order, except as set forth in paragraph 12, above;

       14.     Consent to the use of the findings and conclusions in this Consent Order in this

proceeding and in any other proceeding brought by the Commission or to which the Commission

is a party or claimant, and agree that they shall be taken as true and correct and be given

preclusive effect therein, without further proof;

       15.     Do not consent, however, to the use of this Consent Order, or the findings and

conclusions herein, as the sole basis for any other proceeding brought by the Commission or to

which the Commission is a party, other than: a proceeding in bankruptcy or receivership; a

proceeding regarding Commission registration or statutory disqualification; or a proceeding to

enforce the terms of this Consent Order;

       16.     Do not consent to the use of this Consent Order, or the findings or conclusions

herein, by any other party in any other proceeding; and



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        17.    Agree that no provision of this Consent Order shall in any way limit or impair the

ability of any other person or entity to seek legal or equitable remedy against Defendant Zhao or

the Binance Entity Defendants in any other proceeding.

        In entering into this Consent Order, the Commission acknowledges Binance’s

representations concerning its remediation, undertaken at Defendant Zhao’s direction, as

described below in paragraphs 52 and 53.

               III.    FINDINGS OF FACT AND CONCLUSIONS OF LAW

        The Court, being fully advised in the premises, finds that there is good cause for the entry

of this Consent Order and that there is no just reason for delay. The Court therefore directs the

entry of the following Findings of Fact, Conclusions of Law, permanent injunction and equitable

relief pursuant to Section 6c of the Act, 7 U.S.C. § 13a-1, as set forth herein. The findings and

conclusions in this Consent Order are not binding on any other party to this action.

THE COURT HEREBY FINDS:

A.      Findings of Fact

        The Parties to this Consent Order

        18.    Plaintiff Commodity Futures Trading Commission is an independent federal

regulatory agency that is charged by Congress with administering and enforcing the Act and the

Regulations.

        19.    Defendant Changpeng Zhao has been at all relevant times the Chief Executive

Officer (“CEO”) of Binance. Zhao launched Binance in 2017 and has ultimately controlled all of

Binance’s business activities. Zhao is a Canadian citizen who currently resides in the United

Arab Emirates. Zhao has directly or indirectly owned the scores of entities that collectively

operate the Binance platform, including the Binance Entity Defendants. Zhao has never been

registered with the Commission in any capacity.
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       20.     Defendant Binance Holdings Limited is incorporated in the Cayman Islands and

directly or indirectly owned by Zhao. Binance Holdings has held intellectual property for

Binance, including trademarks and domain names, and has employed at least certain individuals

who perform work for or on behalf of the Binance platform. Binance Holdings has never been

registered with the Commission in any capacity.

       21.     Defendant Binance Holdings (IE) Limited is incorporated in Ireland and directly

or indirectly owned by Zhao. Binance IE is a holding company that has directly or indirectly

owned at least 24 corporate entities that have acted as Binance’s digital asset and virtual asset

service providers in a variety of jurisdictions and held Binance’s non-U.S. regulatory licenses.

Binance IE has never been registered with the Commission in any capacity.

       22.     Defendant Binance (Services) Holdings Limited is incorporated in Ireland and

directly or indirectly owned by Zhao. Binance Services is a holding company that has directly or

indirectly owned at least 43 different corporate entities, including companies that conduct

technology and operations services for Binance, hold the intellectual property related to

Binance’s matching engines and financial products, and enter into contracts with vendors.

Binance Services owns Binance Holdings. Binance Services has never been registered with the

Commission in any capacity.

       The Binance Trading Platform

       23.     Binance is the world’s largest centralized digital asset exchange. From at least

July 2019 to March 27, 2023 (the “Relevant Period”), Zhao has directly or indirectly owned and

controlled dozens of corporate entities incorporated in numerous jurisdictions around the world,

including the Binance Entity Defendants, that operate the Binance platform as a common

enterprise. At times, at least certain of those entities, including Binance Holdings, Binance IE,



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and Binance Services have commingled funds, relied on shared technical infrastructure, and

engaged in activities to collectively advertise and promote the Binance brand.

       24.     Binance’s reliance on a maze of corporate entities to operate the Binance platform

is deliberate; it is designed to obscure the ownership, control, and location of the Binance

platform.

       25.     As founder and CEO of Binance, Zhao has been responsible for all major strategic

decisions, business development, and management of the Binance enterprise. Zhao has been

responsible for directing and overseeing the creation and operation of Binance’s trade matching

engines, website, application programming interface (“API”) functionalities, and order entry

system. Throughout the Relevant Period, Zhao was ultimately responsible for evaluating the

legal and regulatory risks associated with Binance’s business activities.

       Products

       26.     Beginning no later than July 2019, Binance, under Zhao’s direction and control,

began offering digital asset derivative products, including futures, options, swaps, and/or

leveraged retail commodity transactions in bitcoin (BTC), ether (ETH), litecoin (LTC), and other

digital assets that are commodities as defined under Section 1a(9) of the Act, 7 U.S.C. § 1a(9).

Throughout the Relevant Period, Binance solicited and accepted orders, accepted property to

margin, and operated a facility for the trading of futures, options, swaps, and leveraged retail

commodity transactions involving digital assets that are commodities.

       27.     Beginning in July 2019, Binance offered leverage to retail customers (that is, non

eligible contract participants (“ECPs”) within the meaning of Section 1a(18) of the Act, 7 U.S.C.

§ 1a(18)) trading in its spot markets, which generally include its markets for BTC, ETH, and




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other digital assets. These leveraged transactions do not result in actual delivery of the digital

asset within 28 days of the transaction.

       28.     Beginning in April 2020, Binance offered a product called “Binance Options.”

       29.     During the Relevant Period, Binance also offered two categories of digital asset

derivatives that it calls “futures”—one category, called quarterly futures, is composed of

contracts that have pre-determined expiration dates while the other category, called perpetual

contracts or simply “perpetuals”, is composed of contracts that do not have an expiration date.

Binance began offering quarterly futures in or around September 2019. Binance’s quarterly

futures are futures contracts. Binance has offered perpetual contracts since at least September

2019. Binance’s perpetuals are swaps.

       Binance Solicited U.S. Customers

       30.     During the Relevant Period, Binance actively solicited customers in the United

States, including commercially important “VIP” institutional customers, while failing to

implement an effective Anti-Money Laundering (“AML”) program as required by U.S. law. As

part of this active solicitation, Binance also enlisted U.S. residents to act as “Binance Angels” to

solicit and interact with U.S. customers and hosted networking and social events in the United

States. Further, at Zhao’s instruction, Binance’s officers, agents and employees used

communication applications with auto-delete functionality enabled to communicate concerning

U.S. customers.

       31.     Throughout the Relevant Period, Binance made money by charging its customers

transaction fees for trades on its platform. Binance monitored its sources of transaction volume

and fee-based revenue as a matter of course in conducting its operations. Thus, Zhao and the

Binance Entity Defendants were aware that a meaningful percentage of Binance’s billions of



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dollars in revenue was derived from digital asset derivative transactions entered into by U.S.

customers.

       Binance Implemented Superficial, Ineffective, Compliance Controls and Instructed
       U.S. Customers to Circumvent Its Compliance Controls

       32.     For approximately the first two years of its operations, Binance did not take any

steps to limit or restrict the ability of U.S. customers to trade on the platform.

       33.     In June 2019, Binance updated its Terms of Use to state for the first time that

“Binance is unable to provide services to any U.S. person.” According to periodic revenue

reports prepared for and sent to Zhao every month, however, as of January 2020 approximately

19.9% of Binance’s customers were located in the United States, and as of June 2020—about a

year after Binance amended its Terms of Use—approximately 17.8% of Binance’s customers

were located in the United States. The U.S. user presence persisted because, as set forth below,

Zhao and Binance deliberately allowed U.S. Customers to circumvent their superficial controls

and purported “Know Your Customer” (“KYC”) program.

       34.     For example, after Binance began to purportedly restrict access to its platform

from certain jurisdictions in mid-2019, it left open a loophole for customers to sign up, deposit

assets, trade, and make withdrawals without submitting to any KYC procedures as long as the

customer withdrew less than the value of two BTC in one day.

       35.     Then, in September 2019, Binance claimed it had begun to block customers based

on their internet protocol (“IP”) address. In reality, Binance simply added a pop-up window on

its website that appeared when customers attempted to log in from an IP address associated with

the United States. The pop-up did not block customers from logging in to their account,

depositing assets, or trading on the platform, it just asked them to self-certify that they were not a

U.S. person before accessing the platform by clicking a button on the pop-up. Binance knew that


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U.S. customers continued to comprise a substantial proportion of Binance’s customer base even

after September 2019 because, among other reasons, Binance’s internal reporting told them so.

       36.     In addition, at least as early as April 2019, Binance published a guide on the

“Binance Academy” section of its website titled “A Beginner’s Guide to VPNs.” Binance’s

VPN guide explained to Binance customers that “[i]f you want to be private about the websites

you visit – and your location – you should use a VPN.” Binance’s VPN guide also hinted: “you

might want to use a VPN to unlock sites that are restricted in your country.”

       37.     Further, at various times during the Relevant Period, Binance personnel assisted

U.S. VIP customers to create “new” accounts using “new KYC” documentation in order to

circumvent Binance’s compliance controls. By October 2020, Binance formalized its processes

for instructing U.S. VIP customers on the best methods to evade Binance’s compliance controls

in a corporate policy titled “VIP Handling.” Acting pursuant to the VIP Handling policy,

Binance’s VIP team would “coordinate the transfer” of the VIP customer’s “Referral Bonuses,

VIP level, Withdrawal Limits etc.” to the “new” account from the VIP customer’s pre-existing

account. Thus, if the VIP team followed the VIP Handing policy correctly, from the customer’s

perspective nothing about its trading on Binance would be disrupted—the “new” account would

be the same as the old account with the exception of the name of the accountholder.

       38.     On August 20, 2021, Binance purported to put in place a KYC program,

announcing that “all Binance users are required to verify their accounts,” meaning that all new

customers would be required to complete “Intermediate Verification” and provide a government

issued identification evidencing their geographic location. Binance also announced that existing

customers that had not yet completed Intermediate Verification would have their account

changed to “withdrawal only” status by October 19, 2021.



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        39.     Binance did not limit the ability of unverified customers to deposit funds and

trade on the platform by October 19, 2021 as represented, however. Further, by February 2022,

Binance had only verified the identities of approximately 30–40% of its customers though KYC

documentation.

        Binance Was Aware of U.S. Regulatory Requirement but Ignored Them

        40.     Defendants have been aware that the CFTC regulatory regime applies to U.S.

financial institutions such as futures commission merchants (“FCMs”), and exchanges such as

designated contract markets (“DCMs”), swap execution facilities (“SEFs”), and foreign boards

of trade (“FBOTs”), throughout the Relevant Period, but have made deliberate, strategic

decisions to evade federal law.

        41.     Internal messages among Zhao, Lim, and other Binance senior managers

document that Binance was aware of the applicability of U.S. regulatory and legal requirements

since its early days.

        Binance Knowingly Concealed the Presence of U.S. Customers

        42.     Zhao directed Binance personnel to replace the “U.S.” value for certain data fields

in Binance’s internal database with the value “UNKWN.”

        Binance Allowed U.S. Customers to Transact Through Brokers

        43.     During the Relevant Period, Binance implemented a “broker program” and relied

on “prime brokers” to solicit and accept orders for Binance’s digital asset derivatives from

institutional customers, including those located in the United States. In violation of its own

Terms of Use, Binance allowed at least two prime brokers to open “sub-accounts” that were not

subject to Binance’s KYC procedures. At various times during the Relevant Period, U.S.

customers directly traded digital asset derivatives on the Binance platform through those so-

called “sub-accounts.”

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       Binance Allowed U.S. Customers to Transact Directly

       44.     Trading Firms A, B, and C are quantitative trading firms and three examples of

U.S. customers that Binance allowed to transact directly on its platform. Trading Firms A, B,

and C transacted through accounts in their own names, in the names of foreign-incorporated

subsidiaries and/or through sub-accounts opened on their behalf by prime brokers.

       45.     Trading Firm A is a Delaware limited liability company headquartered in

Chicago, Illinois, and is majority owned by U.S. residents. Trading Firm A’s executive

management team works from its Chicago headquarters. During the Relevant Period, Trading

Firm A conducted its trading activity on Binance through automated trading strategies

programmed into computer algorithms. These algorithms determine whether to place or cancel

any orders based on instructions in their code. Trading Firm A’s algorithms are developed by

quantitative technologists that work at Trading Firm A’s Chicago headquarters, among other

locations. Trading Firm A’s computer code and its algorithms are owned by an Illinois limited

liability company that is a wholly-owned subsidiary of Trading Firm A. Trading Firm A has

capitalized its trading activity on Binance and Trading Firm A’s net trading revenue derived

from its trading activity on Binance is consolidated into Trading Firm A’s financial statements.

       46.     During the Relevant Period, Trading Firm A transacted on the Binance platform

in an account in its own name, in the name of a nominee shell company, and through a sub-

account opened on its behalf by a prime broker.

       47.     Trading Firm B is headquartered in New York, incorporated in Delaware, and

ultimately majority owned by U.S. residents. Numerous senior managers, including the

individual who functions as Trading Firm B’s CEO, have worked from Trading Firm B’s New

York headquarters. During the Relevant Period, Trading Firm B conducted its digital asset

trading activity on Binance through a dedicated trading desk that utilizes automated trading
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strategies programmed into computer algorithms developed by personnel at Trading Firm B’s

New York headquarters, among other locations. The computer code that builds Trading Firm

B’s algorithms is owned, directly or indirectly by Trading Firm B. Trading Firm B has at all

times capitalized Trading Firm B’s trading activity on Binance and the net trading revenue

derived from its trading activity on Binance has been consolidated into Trading Firm B’s

financial statements.

       48.     During the Relevant Period, Trading Firm B transacted on the Binance platform

through a personal account and also through a nominee shell company organized under the law

of Jersey.

       49.     Trading Firm C is headquartered and incorporated in New York and majority

owned by U.S. residents. Members of Trading Firm C’s senior management team, including its

CEO and CIO are New York-based. During the Relevant Period, Trading Firm C conducted its

trading activity on Binance through automated trading strategies that use tailor-made computer

algorithms. Development of Trading Firm C’s algorithms used for trading on Binance occurs in

the United States and in other locations. Trading Firm C conducts its trading activity on Binance

through at least 15 independent trading teams, including teams based in and managed from New

York. Trading Firm C’s net trading revenue derived from its trading activity on Binance is

consolidated into the financial statements of Trading Firm C’s commonly-owned Delaware-

incorporated affiliate and combined into Trading Firm C’s financial statements.

       50.     During the Relevant Period, Trading Firm C transacted on the Binance platform

through two accounts opened in the names of foreign-incorporated subsidiaries.

       51.     Zhao and other members of Binance’s senior management failed to properly

supervise Binance’s activities during the Relevant Period and actively facilitated violations of



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U.S. law, including by assisting and instructing customers located in the United States to evade

the compliance controls Binance purported to implement to prevent and detect violations of U.S.

law, by allowing customers that had not submitted proof of their identity and location to trade on

the platform in violation of Binance’s own Terms of Service, and by directing VIP customers

with ultimate beneficial owners, key employees who control trading decisions, trading

algorithms, and other assets all located in the United States to open Binance accounts under the

name of newly incorporated shell companies to evade Binance’s compliance controls.

         Binance and Zhao’s Representations Relating to Remedial Measures

         52.   The Binance Entity Defendants and Defendant Zhao represent that, at Defendant

Zhao’s direction, Binance commenced substantial remedial action to improve their compliance

controls and policies, including taking steps to ensure that its policies are uniformly and

accurately applied to all customers and accounts. In particular, the Binance Entity Defendants

and Defendant Zhao represent that, subsequent to the filing of the Complaint, Binance, at Zhao’s

direction, has implemented comprehensive controls to identify potential U.S. customers and

prevent the onboarding of customers, and opening of accounts and sub-accounts, with a U.S.

nexus.

         53.   Prior to the filing of the Complaint, Binance began developing the Nationality of

Business Entities Checklist (“NBEC”), the most recent version of which is published on

Binance’s website. The Binance Entity Defendants and Defendant Zhao represent that the

NBEC implements Binance’s compliance policies that prohibit U.S. persons as applied to

business entities from onboarding to the Binance platform. The Binance Entity Defendants and

Defendant Zhao further represent that Binance continues to implement and further enhance

significant corporate governance changes begun prior to the filing of the Complaint, and remains



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committed to investing significant financial resources to build and maintain a robust compliance

program.

B.       Conclusions of Law

         Jurisdiction and Venue

         54.   This Court possesses jurisdiction over this action pursuant to 28 U.S.C. § 1331

(codifying federal question jurisdiction) and 28 U.S.C. § 1345 (providing that U.S. district courts

have original jurisdiction over civil actions commenced by the United States or by any agency

expressly authorized to sue by Act of Congress). Section 6c(a) of the Act, 7 U.S.C. § 13a-1(a),

provides that the Commission may bring actions for injunctive relief or to enforce compliance

with the Act or any rule, regulation, or order thereunder in the proper district court of the United

States whenever it shall appear to the Commission that any person has engaged, is engaging, or

is about to engage in any act or practice constituting a violation of any provision of the Act or

any rule, regulation, or order thereunder.

         55.   Venue properly lies with this Court pursuant to 7 U.S.C. § 13a-1(e), because acts

and practices in violation of the Act occurred within this District.

         Count I – Binance’s Execution of Futures Transactions on an Unregistered Board of
         Trade

         56.   At various times during the Relevant Period, by the conduct described above and

in the Complaint, Defendants Binance Holdings, Binance IE, and Binance Services, all acting as

a common enterprise and collectively doing business as Binance, and through their officers,

employees, and agents, including without limitation Defendant Zhao, offered, entered into, and

confirmed the execution of leveraged retail commodity transactions, and contracts for the

purchase or sale of digital assets that are commodities for future delivery; and conducted an

office or business in the U.S. for the purpose of soliciting or accepting any order for, or


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otherwise dealing in, any transaction in, or in connection with, leveraged retail commodity

transactions or contracts for the purchase or sale of digital assets that are commodities for future

delivery without conducting its futures transactions on or subject to the rules of a board of trade

designated or registered by the CFTC as a contract market and thereby violated Section 4(a) of

the Act, 7 U.S.C. § 6(a).

       57.     At other times during the Relevant Period, Defendants Binance Holdings, Binance

IE, and Binance Services, all acting as a common enterprise and doing business as Binance, and

through their officers, employees, and agents including without limitation Zhao, violated Section

4(b) of the Act, 7 U.S.C. § 6(b), and Regulation 48.3, 17 C.F.R. § 48.3 (2022), by permitting

direct access to its electronic trading and order matching system without obtaining an Order of

Registration for a foreign board of trade from the Commission.

       58.     Throughout the Relevant Period, Zhao directly or indirectly controlled Binance

and did not act in good faith and/or knowingly induced, directly or indirectly, the acts

constituting Binance’s violations of 7 U.S.C. §§ 6(a) and 6(b) and 17 C.F.R. § 48.3, and thus

Zhao is liable for Binance’s violations as a control person pursuant to Section 13(b) of the Act,

7 U.S.C. § 13c(b).

       Count II – Binance’s Illegal Off-Exchange Commodity Options

       59.     By the conduct described above and in the Complaint, Defendants Binance

Holdings, Binance IE, and Binance Services, all acting as a common enterprise and collectively

doing business as Binance, and through their officers, employees, and agents, including without

limitation Zhao, offered to enter into, entered into, and confirmed the execution of, maintained

positions in, or otherwise conducted activities relating to commodity option transactions in

interstate commerce that were not executed on any registered board of trade and thus violated

Section 4c(b) of the Act, 7 U.S.C. § 6c(b), and Regulation 32.2, 17 C.F.R. § 32.2 (2022).
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       60.     Throughout the Relevant Period, Zhao directly or indirectly controlled Binance

and did not act in good faith and/or knowingly induced, directly or indirectly, the acts

constituting Binance’s violations of 7 U.S.C. § 6c(b) and 17 C.F.R. § 32.2, and thus Zhao is

liable for Binance’s violations as a control person pursuant to 7 U.S.C. § 13c(b).

       Count III – Binance’s Failure to Register as a Futures Commission Merchant

       61.     By the conduct described above and in the Complaint, Defendants Binance

Holdings, Binance IE, and Binance Services, all acting as a common enterprise and collectively

doing business as Binance, and through their officers, employees, and agents, including without

limitation Zhao, operated as an FCM by soliciting and accepting orders for the purchase or sale

of commodities for future delivery, swaps, and leveraged retail commodity transactions, and/or

by acting as a counterparty in such transactions; and, in connection with these activities,

accepting money, securities, or property (or extending credit in lieu thereof) to margin,

guarantee, or secure resulting trades on the Binance platform and thus violated Section 4d of the

Act, 7 U.S.C. § 6d.

       62.     Throughout the Relevant Period, Zhao directly or indirectly controlled Binance

and did not act in good faith and/or knowingly induced, directly or indirectly, the acts

constituting Binance’s violations of 7 U.S.C. § 6d, and thus Zhao is liable for Binance’s

violations as a control person pursuant to 7 U.S.C. § 13c(b).

       Count IV – Binance’s Failure to Register as a Designated Contract Market or Swap
       Execution Facility

       63.     By the conduct described above and in the Complaint, Defendants Binance

Holdings, Binance IE, and Binance Services, all acting as a common enterprise and doing

business as Binance, and through their officers, employees, and agents, including without

limitation Zhao, operated a trading system or platform in which more than one market participant


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has the ability to execute or trade swaps with more than one other market participant on the

system or platform, including the trading or processing of swaps on digital assets that are

commodities without being registered as a DCM or SEF and thus violated Section 5h(a)(1) of the

Act, 7 U.S.C. § 7b-3(1), and Regulation 37.3(a)(1), 17 C.F.R. § 37.3(a)(1) (2022).

       64.     Throughout the Relevant Period, Zhao directly or indirectly controlled Binance

and did not act in good faith and/or knowingly induced, directly or indirectly, the acts

constituting Binance’s violations of 7 U.S.C. § 7b-3(1) and 17 C.F.R. § 37.3(a)(1), and thus Zhao

is liable for Binance’s violations as a control person pursuant to 7 U.S.C. § 13c(b).

       Count V – Binance’s Failure to Diligently Supervise

       65.     By the conduct described above and in the Complaint, Defendants Binance

Holdings, Binance IE, and Binance Services, all acting as a common enterprise and doing

business as Binance, and through their officers, employees, and agents, including without

limitation Zhao, while acting as an FCM employed an inadequate supervisory system and failed

to diligently perform their supervisory duties, including by: (i) failing to implement an effective

Customer Identification Program; (ii) failing to implement effective KYC procedures;

(iii) failing to implement effective AML procedures; (iv) failing to ensure that its partners,

officers, employees, and agents, lawfully and appropriately handled all commodity interest

accounts at Binance; (v) purposefully instructing customers to evade compliance controls; and,

(vi) intentionally destroying documents related to illegal conduct, and thus violated Regulation

166.3, 17 C.F.R. § 166.3 (2022).

       66.     Throughout the Relevant Period, Zhao directly or indirectly controlled Binance

and did not act in good faith and/or knowingly induced, directly or indirectly, the acts

constituting Binance’s violations of 17 C.F.R. § 166.3, and thus Zhao is liable for Binance’s

violations as a control person pursuant to 7 U.S.C. § 13c(b).
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          Count VI – Binance’s Failure to Implement Customer Identification Program, and
          Failure to Implement Know Your Customer and Anti-Money Laundering
          Procedures

          67.   By the conduct described above and in the Complaint Defendants Binance

Holdings, Binance IE, and Binance Services, all acting as a common enterprise and doing

business as Binance, and through their officers, employees, and agents, including without

limitation Zhao, failed to implement a Customer Identification Program, KYC policies and

procedures, an AML program, failed to retain required customer information, and failed to

implement procedures to determine whether a customer appears on lists of known or suspected

terrorists or terrorist organizations such as those issued by the U.S. Department of the Treasury’s

Office of Foreign Assets Control (“OFAC”) and thus violated Regulation 42.2, 17 C.F.R. § 42.2

(2022).

          68.   Throughout the Relevant Period, Zhao directly or indirectly controlled Binance

and did not act in good faith and/or knowingly induced, directly or indirectly, the acts

constituting Binance’s violations of 17 C.F.R. § 42.2, and thus Zhao is liable for Binance’s

violations as a control person pursuant to 7 U.S.C. § 13c(b).

          Count VII – Zhao and Binance Evasion

          69.   By the conduct described above and in the Complaint, Defendant Zhao, as well as

Defendants Binance Holdings, Binance IE, and Binance Services, all acting as a common

enterprise and doing business as Binance, and through their officers, employees, and agents,

including without limitation Zhao, conducting activities outside the United States, including

entering into agreements, contracts, and transactions and structuring entities, willfully evaded or

attempted to evade provisions of the Act, as enacted by Subtitle A of the Wall Street

Transparency and Accountability Act of 2010, or the rules, regulations, and orders of the



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Commission promulgated thereunder, and thus violated Regulation 1.6(a), 17 C.F.R. § 1.6(a)

(2022).

                                 IV.     PERMANENT INJUNCTION

          IT IS HEREBY ORDERED THAT:

          70.     Based upon and in connection with the foregoing conduct, pursuant to Section 6c

of the Act, 7 U.S.C. § 13a-1, Defendants Changpeng Zhao, Binance Holdings Limited, Binance

Holdings (IE), and Binance (Services) Holdings Limited, and their successors or assigns are

permanently restrained, enjoined and prohibited from directly or indirectly:

          a.    offering to enter into, entering into, or confirming the execution of transactions

                described in Section 2(c)(2)(D)(i) of the Act, 7 U.S.C. § 2(c)(2)(D)(i) (leveraged

                retail commodity transactions), or contracts for the purchase or sale of digital assets

                that are commodities for future delivery, and conducting an office or business in the

                U.S. for the purpose of soliciting, or accepting any order for, or otherwise dealing in,

                any transaction in, or in connection with, leveraged retail commodity transactions or

                contracts for the purchase or sale of digital assets that are commodities for future

                delivery, in violation of Section 4(a) of the Act, 7 U.S.C. § 6(a);

          b. permitting direct access to an electronic trading and order matching system in

                violation of Section 4(b) of the Act, 7 U.S.C. § 6(b), and Regulation 48.3, 17 C.F.R.

                § 48.3 (2022);

          c. offering to enter into, entering into, confirming the execution of, maintaining

                positions in, and otherwise conducting activities relating to commodity option

                transactions in interstate commerce in violation of Section 4c(b) of the Act, 7 U.S.C.

                § 6c(b), and Regulation 32.2, 17 C.F.R. § 32.2 (2022);



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    d. soliciting or accepting orders for the purchase or sale of commodities for future

        delivery, swaps, or agreements, contracts or transactions described in Section

        2(c)(2)(D)(i) of the Act, 7 U.S.C. § 2(c)(2)(D)(i) (leveraged retail commodity

        transactions), and/or by acting as a counterparty in such transactions; and, in or in

        connection with these activities, accepting money, securities, or property (or

        extending credit in lieu thereof) to margin, guarantee, or secure resulting trades in

        violation of Section 4d of the Act, 7 U.S.C. § 6d;

    e. operating a facility for the trading of swaps on digital assets that are commodities

        without registering with the CFTC as a designated contract market (DCM) or swap

        execution facility (SEF) in violation of Section 5h(a)(1) of the Act, 7 U.S.C. § 7b-

        3(1), and Regulation 37.3(a)(1), 17 C.F.R. § 37.3(a)(1) (2022);

    f. failing to perform their supervisory duties diligently, including by: (i) failing to

        implement an effective Customer Identification Program; (ii) failing to implement

        effective Know-Your-Customer procedures; (iii) failing to implement effective Anti-

        Money Laundering procedures; (iv) failing to ensure that its partners, officers,

        employees, and agents, lawfully and appropriately handled all commodity interest

        accounts at Binance; (v) purposefully instructing customers to evade compliance

        controls; and (vi) intentionally destroying documents related to illegal conduct, in

        violation of Regulation 166.3, 17 C.F.R. § 166.3 (2022);

    g. failing to comply with the applicable provisions of the Bank Secrecy Act and

        regulations promulgated by the Department of the Treasury including the

        requirements to implement an Anti-Money Laundering program, retain required

        customer information, and implement procedures to determine whether a customer



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               appears on lists of known or suspected terrorists or terrorist organizations in

               violation of Regulation 42.2, 17 C.F.R. § 42.2 (2022); and

         h. conducting activities outside the United States, including entering into agreements,

               contracts, and transactions and structuring entities, to willfully evade or attempt to

               evade provisions of the Act, as enacted by Subtitle A of the Wall Street

               Transparency and Accountability Act of 2010, or the rules, regulations, and orders of

               the Commission promulgated thereunder, in violation of Regulation 1.6, 17 C.F.R.

               § 1.6 (2022).

                V.      DISGORGEMENT AND CIVIL MONETARY PENALTY

A.       Disgorgement

         71.     The Binance Entity Defendants shall pay, jointly and severally, disgorgement in

the amount of One Billion, Three Hundred and Fifty Million Dollars ($1,350,000,000.00)

(“Disgorgement Obligation”), representing the gains received in connection with such violations,

within the later of: (i) nine (9) months of the date of entry of this Consent Order, or (ii) such

other date as may be ordered in any related action by, or any agreement with, the Department of

Justice (“DOJ”), charging Binance Holdings Limited, in part, for the misconduct that is at issue

in this matter (the “Criminal Action”). If the Disgorgement Obligation is not paid in full within

the dates set forth above, then post-judgment interest shall accrue on the unpaid portion of the

Disgorgement Obligation beginning on the date of entry of this Consent Order and shall be

determined by using the Treasury Bill rate prevailing on the date of entry of this Consent Order

pursuant to 28 U.S.C. § 1961.

         72.     For amounts forfeited or paid in the Criminal Action, the Binance Entity

Defendants shall receive a dollar-for-dollar credit against the Disgorgement Obligation. Within

ten days of payment in the Criminal Action, the Binance Entity Defendants shall, under a cover

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letter that identifies the name and docket number of this proceeding, transmit to the Chief

Financial Officer, Commodity Futures Trading Commission, Three Lafayette Centre, 1155 21st

Street, NW, Washington, D.C. 20581, and Robert T. Howell, Deputy Director, Commodity

Futures Trading Commission, Ralph Metcalfe Federal Building, 77 West Jackson Blvd., Ste.

800, Chicago, IL 60604, copies of the form of payment.

       73.     If not offset by payments in the Criminal Action, any outstanding portions of the

Disgorgement Obligation and any post-judgment interest shall be paid by electronic funds

transfer, U.S. postal money order, certified check, bank cashier’s check, or bank money order. If

payment is to be made other than by electronic funds transfer, then the payment shall be made

payable to the Commodity Futures Trading Commission and sent to the address below:

       MMAC/ESC/AMK326
       Commodity Futures Trading Commission
       6500 S. MacArthur Blvd.
       HQ Room 266
       Oklahoma City, OK 73169
       9-amz-ar-cftc@faa.gov

If payment by electronic funds transfer is chosen, the Binance Entity Defendants shall contact

Tonia King or her successor at the address above to receive payment instructions and shall fully

comply with those instructions. The Binance Entity Defendants shall accompany payment of the

Disgorgement Obligation with a cover letter that identifies Binance and the name and docket

number of this proceeding. The Binance Entity Defendants shall simultaneously transmit copies

of the cover letter and form of payment to the Chief Financial Officer, Commodity Futures

Trading Commission, Three Lafayette Centre, 1155 21st Street, NW, Washington, D.C. 20581,

and Robert T. Howell, Deputy Director, Commodity Futures Trading Commission, Ralph

Metcalfe Federal Building, 77 West Jackson Blvd., Ste. 800, Chicago, IL 60604. Any payment




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made pursuant to the December 14, 2023 Consent Order prior to modification shall be deemed to

have been paid under the Consent Order as modified.

B.       Civil Monetary Penalty

         74.     Defendant Changpeng Zhao shall pay a civil monetary penalty in the amount of

One Hundred and Fifty Million Dollars ($150,000,000) (“Zhao CMP Obligation”). The Zhao

CMP Obligation shall be paid as follows:

         (i)     Fifty Million Dollars ($50,000,000) within thirty (30) days of the date of entry of
                 this Consent Order,

         (ii)    Fifty Million Dollars ($50,000,000) within ninety (90) days of the date of entry of
                 this Consent Order, and

         (iii)   Fifty Million Dollars ($50,000,000) within one hundred and eighty (180) days of
                 the date of entry of this Consent Order.

If the Zhao CMP Obligation is not paid within the dates set forth above on paragraph 74, then

post-judgment interest shall accrue on the entire unpaid portion of the Zhao CMP Obligation

beginning on the date of entry of this Consent Order and shall be determined by using the

Treasury Bill rate prevailing on the date of entry of this Consent Order pursuant to 28 U.S.C. §

1961.

         75.     Defendants Binance Holdings Limited, Binance Holdings (IE) Limited, Binance

(Services) Holdings Limited shall pay, jointly and severally, a civil monetary penalty in the

amount of One Billion, Three Hundred and Fifty Million Dollars ($1,350,000,000) (“Binance

CMP Obligation”). The Binance Entity Defendants shall pay the Binance CMP Obligation

within the later of: (i) eighteen (18) months of the date of entry of this Consent Order or (ii) such

other date as may be ordered in any related action by, or any agreement with, the DOJ in the

related Criminal Action.




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       76.     The Binance Entity Defendants shall receive a dollar-for-dollar credit against the

Binance CMP Obligation for Five Hundred Million Dollars ($500,000,000) ordered to be paid as

a penalty and paid as a penalty in either the Criminal Action or the related consent with the

Financial Crimes Enforcement Network (“FinCEN Consent”). If any portion of the Binance

CMP Obligation is not paid in full as ordered, or offset by payments in the Criminal Action

and/or FinCEN Consent, then post-judgment interest shall accrue on the unpaid portion of the

Binance CMP Obligation beginning on the date of entry of this Consent Order and shall be

determined by using the Treasury Bill rate prevailing on the date of entry of this Consent Order

pursuant to 28 U.S.C. § 1961.

       77.     Payment of the Zhao CMP Obligation and Binance CMP Obligation, and any

post-judgment interest, shall be made by electronic funds transfer, U.S. postal money order,

certified check, bank cashier’s check, or bank money order. If payment is to be made other than

by electronic funds transfer, then the payment shall be made payable to the Commodity Futures

Trading Commission and sent to the address below:

       MMAC/ESC/AMK326
       Commodity Futures Trading Commission
       6500 S. MacArthur Blvd.
       HQ Room 266
       Oklahoma City, OK 73169
       9-amz-ar-cftc@faa.gov

If payment by electronic funds transfer is chosen, Defendant Zhao and/or the Binance Entity

Defendants shall contact Tonia King or her successor at the address above to receive payment

instructions and shall fully comply with those instructions. Defendant Zhao shall accompany

payment of the Zhao CMP Obligation, and the Binance Entity Defendants shall accompany

payment of the Binance CMP Obligation, with a cover letter that identifies Zhao and Binance

and the name and docket number of this proceeding. Defendant Zhao and the Binance Entity

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Defendants, respectively, shall simultaneously transmit copies of the cover letter and form of

payment to the Chief Financial Officer, Commodity Futures Trading Commission, Three

Lafayette Centre, 1155 21st Street, NW, Washington, D.C. 20581, and Robert T. Howell, Deputy

Director, Commodity Futures Trading Commission, Ralph Metcalfe Federal Building, 77 West

Jackson Blvd., Ste. 800, Chicago, IL 60604. Any payment made pursuant to the December 14,

2023 Consent Order prior to modification shall be deemed to have been paid under the Amended

Consent Order as modified.

C.       Provisions Related to Monetary Sanctions

         78.   Partial Satisfaction: Acceptance by the Commission of any partial payment of the

Disgorgement Obligation, the Zhao CMP Obligation, and/or the Binance CMP Obligation shall

not be deemed a waiver of their obligation to make further payments pursuant to this Consent

Order, or a waiver of the Commission’s right to seek to compel payment of any remaining

balance.

D.       Cooperation

         79.   Defendant Zhao and the Binance Entity Defendants, and its successors and

assigns, shall cooperate with the Commission, including the Commission’s Division of

Enforcement, in this action and in any current or future Commission civil litigation or

administrative matter related to, or arising from, this action.

E.       Settling Defendants’ Certifications to the Commission

         Trading Firms A, B, and C and Binance’s Nationality of Business Entities Checklist

         80.   Defendant Zhao and the Binance Entity Defendants, in reliance on and through

Binance’s Chief Compliance Officer, have certified to the Commission as follows: (i) applying

the current version of the NBEC to the information presently available to Binance, the accounts

associated with Trading Firms A, B, and C, as alleged in paragraphs 150–186 of the Complaint,

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do not meet the NBEC criteria for onboarding, and Binance’s KYC policies and procedures

would disqualify those accounts from onboarding; and (ii) as of September 15, 2023, Binance

has closed or restricted with the intent to close on a reasonably prompt timeline the accounts

associated with Trading Firms A, B, and C, as alleged in paragraphs 150–186, and those

accounts no longer trade digital asset derivative products on Binance.

       81.     No later than ninety days from the date of entry of this Consent Order, the

Binance Entity Defendants, or their successors and assigns, through Binance’s Chief Compliance

Officer and Chief Executive Officer, shall certify in sworn declarations provided to the

Commission that: (i) Binance has tested the reliability of the NBEC by applying it to its top 35

revenue-generating customers as of the date of this Order; (ii) for each of the top 35 revenue-

generating customers, Binance identified all accounts associated with that customer, the entity

holding each account (i.e. the account registrant), as well as all beneficial owner(s), parent(s),

and/or intermediate beneficial owner(s) of that entity, and based on all information presently

available to Binance, independently determined if each entity meets the NBEC’s criteria for

onboarding; (iii) Binance has closed or restricted with the intent to close on a reasonably prompt

timeline all accounts of top 35 revenue-generating customers that did not meet the NBEC’s

criteria for onboarding and will not allow any account associated with those entities to onboard

going forward absent an affirmative finding by the Chief Compliance Officer and his compliance

committee, considering the relevant historical facts and circumstances, including all information

available to Binance, that the entity meets the NBEC’s criteria for onboarding; and, (iv)

Binance’s Chief Compliance Officer verified that the NBEC was correctly applied to all the

accounts associated with Binance’s top 35 revenue-generating customers.

       Binance Will No Longer Allow Sub-Accounts to Circumvent Compliance Controls



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       82.     Defendant Zhao and the Binance Entity Defendants, through their Chief

Compliance Officer, have certified to the Commission that any customer or potential customer

that seeks to onboard, open an account or “sub-account”, and/or otherwise transact on the

Binance platform, whether through the interface available at www.binance.com, the Binance

mobile application, direct connection to Binance’s matching engines via the Binance API, or any

other type of direct market access, must first complete Binance’s onboarding program, which

includes all applicable KYC policies and procedures.

       83.     No later than ninety days following the date of the entry of this Consent Order,

the Binance Entity Defendants, or their successors or assigns, through Binance’s Chief

Compliance Officer and Chief Executive Officer, shall certify in sworn declarations provided to

the Commission that: (i) Binance has implemented compliance controls to prevent use of

Binance corporate accounts directly accessing the Binance platform by anyone other than the

account registrant who may act through its permitted users, and if any permitted user is acting for

the benefit of any person other than the account registrant then the permitted user and its

beneficiary(ies) have also been subjected to all of Binance’s onboarding and KYC’s controls; (ii)

Binance applied all its applicable KYC policies and procedures, including the NBEC checklist,

to all existing corporate “sub-accounts” directly accessing the Binance platform including those

associated with Prime Brokers A and B as alleged in paragraphs 144 to 149 of the Complaint;

and, (iii) Binance has closed or restricted with the intent to close on a reasonably prompt timeline

every sub-account that failed to meet Binance’s compliance controls and current criteria for

onboarding, as described in this paragraph.

       84.     No later than two hundred and ten days following the date of the entry of this

Consent Order, the Binance Entity Defendants, through Binance’s Chief Compliance Officer and



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Chief Executive Officer, shall certify in sworn declarations provided to the Commission that:

(i) Binance applied all applicable KYC policies and procedures to all existing retail “sub-

accounts” directly accessing the Binance platform; and (ii) Binance offboarded every retail sub-

account that failed to meet Binance’s compliance controls and current criteria for onboarding, as

described in this paragraph.

       85.     For any accounts or “sub-accounts” that have been abandoned or classified by

Binance as dormant following any account restrictions or closures in connection with the

undertakings and certifications memorialized in paragraphs 80, 81,83 and 84 of this Order,

Binance shall not permit any such abandoned or dormant account to transact on its platform.

       Binance Corporate Governance

       86.     No later than ninety days following the date of the entry of this Consent Order,

the Binance Entity Defendants, or their successors or assigns, through Binance’s Chief

Compliance Officer and Chief Executive Officer, shall certify in sworn declarations provided to

the Commission that Binance has implemented a corporate governance structure that includes at

least the following elements: (i) a Board of Directors composed of at least three independent

members and in which Defendant Zhao will not be a member; (ii) a Compliance Committee; and

(iii) an Audit Committee.


                            VI.   MISCELLANEOUS PROVISIONS

       87.     Until such time as Defendant Zhao and the Binance Entity Defendants satisfy in

full their Disgorgement Obligation, the Zhao CMP Obligation, and Binance CMP Obligation

under this Consent Order, upon the commencement by or against them of any insolvency,

receivership, or bankruptcy proceeding or any other proceeding for settlement of Zhao and/or

Binance debts, all notices to creditors required to be furnished to the Commission under Title 11


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of the United States Code or other applicable law with respect to such insolvency, receivership

bankruptcy or other proceedings, shall be sent to the address below:

       Secretary of the Commission
       Office of the General Counsel
       Commodity Futures Trading Commission
       Three Lafayette Centre
       1155 21st Street N.W.
       Washington, DC 20581

       88.     Notice: All notices and certifications required to be given by any provision in this

Consent Order, except as to paragraph 80-85, above, shall be sent certified mail, return receipt

requested and via e-mail as follows:

Notice to the Commission:

       Robert T. Howell, Deputy Director
       Commodity Futures Trading Commission, Chicago Regional Office
       Ralph Metcalfe Federal Building
       77 West Jackson Blvd., Ste. 800
       Chicago, IL 60604
       RHowell@cftc.gov

Notice to Zhao:

       Douglas K. Yatter
       Latham & Watkins LLP
       1271 Avenue of the Americas
       New York, NY 10020
       douglas.yatter@lw.com

Notice to Binance Entity Defendants:

       Stephanie L. Brooker
       Gibson, Dunn & Crutcher LLP
       1050 Connecticut Avenue, N.W.
       Washington, DC 20036
       sbrooker@gibsondunn.com

       89.     Change of Address/Phone: Until such time as the Binance Entity Defendants

satisfy in full their Disgorgement Obligation and Binance CMP Obligation, and Defendant Zhao

satisfies the Zhao CMP Obligation, they shall provide written notice to the Commission by
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certified mail of any change to their telephone number and mailing address within ten calendar

days of the change.

       90.     Entire Agreement and Amendments: This Consent Order incorporates all of the

terms and conditions of the settlement among the parties hereto to date. Nothing shall serve to

amend or modify this Consent Order in any respect whatsoever, unless: (a) reduced to writing;

(b) signed by all parties hereto; and (c) approved by order of this Court.

       91.     Invalidation: If any provision of this Consent Order or if the application of any

provision or circumstance is held invalid, then the remainder of this Consent Order and the

application of the provision to any other person or circumstance shall not be affected by the

holding.

       92.     Waiver: The failure of any party to this Consent Order at any time to require

performance of any provision of this Consent Order shall in no manner affect the right of the

party at a later time to enforce the same or other provision of the Consent Order. No waiver in

one or more instances of the breach of any provision contained in this Consent Order shall be

deemed to be or construed as a further or continuing waiver of such breach or waiver of the

breach of any other provision of this Consent Order.

       93.     Continuing Jurisdiction of this Court: This Court shall retain jurisdiction of this

action to ensure compliance with this Consent Order.

       94.     Injunctive and Equitable Relief Provisions: The injunctive and equitable relief

provisions of this Consent Order shall be binding upon the following persons who receive actual

notice of this Consent Order, by personal service or otherwise: (1) Defendants Changpeng Zhao,

Binance Holdings Limited, Binance Holdings (IE) Limited, and Binance (Services) Holdings

Limited; (2) any officer, agent, servant, employee or attorney of Defendant Zhao and/or the



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Binance Entity Defendants; and (3) any other persons who are in active concert or participation

with any person described in subsections (1) and (2) above.

       95.     Authority: Joshua Eaton hereby warrants that he is the Deputy General Counsel of

Binance; that this Consent Order has been duly authorized by Binance Holdings Limited,

Binance Holdings (IE) Limited, and Binance (Services) Holdings Limited; and he has been duly

empowered to sign and submit this Consent Order on behalf of Binance Holdings Limited,

Binance Holdings (IE) Limited, and Binance (Services) Holdings Limited.

       96.     Counterparts and Facsimile Execution: This Consent Order may be executed in

two or more counterparts, all of which shall be considered one and the same agreement and shall

become effective when one or more counterparts have been signed by each of the parties hereto

and delivered (by facsimile, e-mail, or otherwise) to the other party, it being understood that all

parties need not sign the same counterpart. Any counterpart or other signature to this Consent

Order that is delivered by any means shall be deemed for all purposes as constituting good and

valid execution and delivery by such party of this Consent Order.

       97.     Contempt: Defendant Zhao and the Binance Entity Defendants understand that

the terms of the Consent Order, except with respect to disgorgement, are enforceable through

contempt proceedings and that, in any such proceeding, they may not challenge the validity of

this Consent Order.

       98.     Agreements and Undertakings: Defendants Changpeng Zhao, Binance Holdings

Limited, Binance Holdings (IE) Limited, and Binance (Services) Holdings Limited shall comply

with all of the undertakings and agreements set forth in this Consent Order.


       There being no just reason for delay, the Clerk of the Court is hereby directed to enter

this Consent Order for Permanent Injunction, Civil Monetary Penalty, and Other Equitable Relief

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Against Defendants Changpeng Zhao, Binance Holdings Limited, Binance Holdings (IE)

Limited, and Binance (Services) Holdings Limited without further notice.




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IT IS SO ORDERED on this 16th day of January, 2024


                                         _________________________________
                                         MANISH S. SHAH
                                         UNITED STATES DISTRICT JUDGE



 CONSENTED TO AND APPROVED BY:

 PLAINTIFF COMMODITY FUTURES               DEFENDANT CHANGPENG ZHAO
 TRADING COMMISSION

 ___________________________________ ___________________________________
 Candice Haan, Senior Trial Attorney Changpeng Zhao

 Date: __January 11, 2024____________      Date: __January 11, 2024____________

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                                      DEFENDANTS BINANCE HOLDINGS
                                      LIMITED, BINANCE HOLDINGS (IE)
                                      LIMITED, and BINANCE (SERVICES)
                                      HOLDING LIMITED

                                      ___________________________________
                                      Joshua Eaton, Deputy General Counsel


                                      Date:_____January 11, 2024_______________


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